       Case 1:24-cv-01701-WMR Document 5 Filed 08/02/24 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

Tavera L. Baker,


   Plaintiff,
      v.                               CIVIL ACTION FILE
                                       NO. 1:24-cv-1701-WMR-WEJ

Experian Information Solutions, Inc.


   Defendant
                                 ORDER

     Parties have filed a Notice of Settlement [Doc 4]. The Court DIRECTS

the Clerk of Court to ADMINISTRATIVELY CLOSE this case. The

parties shall file a dismissal or other filing disposing of this case upon

finalization of the settlement. If settlement negotiations fail, the parties

shall promptly move to reopen the case.1

     SO ORDERED this 2nd day of August, 2024.




1 Administrative closure is a docket-control device used by the Court for

statistical purposes. The parties need only file a motion to reopen the
case if settlement negotiations fail. Administrative closure will not
prejudice the rights of the parties to this litigation in any manner.
